          Case 3:10-cr-02242-JM                      Document 938                Filed 11/20/12               PageID.4142              Page 1 of 4


     'AO 245B (CASD) (Rev, 12111) Judgment in a Criminal Case
                                                                                                                               FILED
               Sheet I



                                                                                                                        CLERK, U.S. DISTRICT COURT
                                             UNITED STATES DISTRICT COU                                                  MEAN DISTRICT Of CAUFORNIA
                                                                                       _ _ _ _ _ _ _ _-=DEPUTV~...:...I
                                                  SOUTHERN DISTRICT OF CALIFORNIA L.;;;BY

                    UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November I, 1987)

                         BENJAMIN AGUILERA (1)                                     Case Number: IOCR2242 1M
                                                                                    Jason Ser, Federal Defenders, Inc.
                                                                                   Defendant's Attorney
    REGISTRAnON NO. 13226198
    o
    THE DEFENDANT:
    I8J pleaded gUilty to count(s) ONE OF THE INFORMATION.
    o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not gUilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                     Nature ofOtTense                                                                                   Number(s)
18 USC 1349                           CONSPIRACY TO COMMIT MAIL AND WIRE FRAUD                                                                1




        The defendant is sentenced as provided in pages 2 through _ _4,--_ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on oount(s)
 I8J Count(s)_re_m_8_in_in...::g::..-_ _ _ _ _ _ _ _ _ _--------------------------------
                                                        _ _ _ _ _ _ _ is D arel8l dismissed on the motion of the United States.
 181 Assessment: $100.00.

 181 Fine waived                                    I8J Forfeiture pursuant to order filed _ _ _10_1_29_1_2..;,.0_10_ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               November 16,2012
                                                                              Date oflmposition of Sentence




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        Case 3:10-cr-02242-JM                    Document 938                Filed 11/20/12             PageID.4143              Page 2 of 4


AD 2458 (CASD) (Rev. lZIlI) Judgment in a Criminal Case
             Sheet 2 -- Probation
                                                                                                             Judgroent--Page ~ of           _---"4_ __
DEFENDANT: BENJAMIN AGUILERA (1)                                                                      a
CASE NUMBER: lOCR2242 JM
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
 THREE (3) YEARS.

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September] 3, ] 994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, if applicable.)
       The defendant shall not possess a fllearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tne requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries: by the probation offi<:er and follow the instructions of the probation orncer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.



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            Case 3:10-cr-02242-JM                    Document 938          Filed 11/20/12           PageID.4144             Page 3 of 4


       AO 245B (CASD) (Rev. 12111 Judgment in a Criminal Case
                   Sheet 3 - Special Conditions
                                                                                                         Judgment-Page   -.-l- of _ _4_ ____
       DEFENDANT: BENJAMIN AGUILERA (1)                                                             a
       CASE NUMBER: IOCR2242 JM




                                              SPECIAL CONDITIONS OF SUPERVISION
(gI Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

o   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o   Not enter the Republic of Mexico without written permission of the Court or probation officer.
o   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

o   Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release ofthe presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
o Take  no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
  officer, if directed.
o Provide complete disclosure ofpersonal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
o Seek and maintain full time employment and/or schooling or a combination of both.
o   Resolve all outstanding warrants within               days.
o   Complete             hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

o Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
  probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

(gI Complete 300 hours of community service in a program approved by the probation officer within 3 years, with no less than ] 00 hours per
    year.




                                                                                                                                       lOCR2242JM
    Case 3:10-cr-02242-JM                  Document 938     Filed 11/20/12         PageID.4145          Page 4 of 4




   AD 2458   (Rev. 2010) Judgment in a Criminal Case
             Sheet 3 - Continued 2 - Supervised Release

                                                                                  Judgment-Page     4    of        4
   DEFENDANT:              BENJAMIN AGUILERA (1)                              a
   CASE NUMBER: lOCR2242 JM

                                  SPECIAL CONDITIONS OF SUPERVISION

    Be monitored for a period of 6         months, with the location monitoring technology at the discretion of the
    probation officer. The offender shall abide by all technology requirements in the location monitoring program,
    as directed by the court and/or the probation officer. Costs oflocation monitoring technology are waived.
    In addition to other court-imposed conditions of release, the offender's movement in the community
    shall be restricted as specified below:

    o You are restricted to your residence every day from _ _ _ _ _ _ to _ _ _ _ _ _' (Curfew)
     o   You are restricted to your residence every day from _ _ _ _ _ _ to _ _ _ _ _ _ as directed by the
         probation officer, (Curfew)

     IZ] You are restricted to your residence at all times except for employment; education; religious services;
         medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
         obligations; or other activities as pre-approved by the probation officer. (Home Detention)

     o other
       You are restricted to your residence at all times except for medication necessities and court appearances or
             activities specifically approved by the court. (Home Incarceration)

D Be monitored while under supervision with location monitoring technology at the discretion of the
    probation officer, which shall be utilized for the purposes of verifying compliance with any court-imposed
    condition of supervision, The offender shall pay all or part of the costs of location monitoring based upon
    their ability to pay as directed by the court and/or probation officer.
